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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION


 CLINTON NORTHCUTT, et al.,

                              Plaintiffs,
                                                         Case No. 4:17-cv-03301-BHH-TER
        v.
                                                         Honorable Bruce Howe Hendricks
 SOUTH CAROLINA DEPARTMENT OF
 CORRECTIONS, et al.,

                              Defendants.



                 FORMER PLAINTIFF BOBBY STONE’S MOTION FOR
                  PROTECTIVE ORDER PROHIBITING DEPOSITION

                                  I.        INTRODUCTION

       Former plaintiff Bobby Stone respectfully submits this motion pursuant to Federal Rule of

Civil Procedure 26(c)(1), for protective relief prohibiting Defendants from taking his deposition

on August 24, 2018.

                                   II.      BACKGROUND

       Bobby Stone is a fifty-two-year-old prisoner who has spent the past twenty years on South

Carolina’s Death Row. On December 7, 2017, Mr. Stone and seventeen other similarly situated

inmates filed this action to challenge the South Carolina Department of Corrections’ and other

Defendants’ policies and practices responsible for Plaintiffs’ solitary confinement. Dkt. No. 1.

Plaintiffs subsequently filed an Amended Complaint on April 16, 2018. Dkt. No. 30.

       Defendants filed a Motion for Order to Depose Inmates/Plaintiffs on June 6, 2018, pursuant

to Federal Rule of Civil Procedure 30(a)(2). Dkt. No. 35. Plaintiffs did not oppose that motion

as it was entirely reasonable for Defendants to depose parties to this lawsuit. The Court granted
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Defendants’ motion on June 15, 2018, directing the parties to consult and determine mutually

convenient times for the depositions. Dkt. No. 36. Following the directed consultation, the parties

agreed to a deposition schedule that spanned three non-consecutive weeks, with six Plaintiffs per

week and two depositions (morning and afternoon) each day, running from July 23, 2018 through

August 24, 2018. Mr. Stone’s deposition was initially scheduled to take place the morning of

August 24, 2018, at Kirkland Reception and Evaluation Center, and the deposition of Plaintiff

Louis Winkler was scheduled for that afternoon.

       Plaintiffs’ counsel learned on August 1, 2018, that Mr. Stone wished to withdraw as a

plaintiff in this suit on the advice of the attorneys representing him in various criminal matters

related to his capital conviction. Mr. Stone is now asserting, for the first time, a claim that his

death sentence violates the Eighth Amendment because he is intellectually disabled.            See

Declaration of A. Jophlin (“Jophlin Decl.”), Exhibit 1.

       Plaintiffs’ counsel sought Defendants’ consent to Mr. Stone’s withdrawal and suggested

that Mr. Winkler’s deposition be moved to the morning of August 24 because there was no longer

good reason to depose Mr. Stone. See Jophlin Decl., Exhibit 2; see also id., Exhibit 3. Defendants,

as well as Defendant Joseph McFadden, eventually agreed to the voluntary dismissal of Mr.

Stone’s claims but refused to cancel his deposition, even after learning that the reason for Mr.

Stone’s withdrawal was due to developments in his criminal appeals unrelated to the claims in this

lawsuit. While discussions regarding Mr. Stone’s dismissal and deposition were ongoing, on

August 10, 2018, Defendants served a Notice of Video Deposition for Mr. Stone and the other

Plaintiffs to be deposed the week of August 20, 2018. Jophlin Decl., Ex. 4. Pursuant to Federal

Rule 41(a)(1)(ii), Mr. Stone’s claims in this lawsuit were voluntarily dismissed by stipulation on

August 16, 2018. Dkt. No. 63.
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   Mr. Stone now requests that this Court issue a Protective Order pursuant to Rule 26(c)(1) to

prevent Defendants from taking his deposition on August 24, 2018, or at any date in the future.

                                      III.    ARGUMENT

       The Court may, for good cause, issue an order to protect a party or person from “annoyance,

embarrassment, oppression, or undue burden or expense” by forbidding or limiting the scope of

discovery. Fed. R. Civ. P. 26(c)(1). Courts are afforded “broad discretion” to decide when a

protective order is appropriate and what degree of protection is required. Wellin v. Wellin, 211 F.

Supp. 3d 793, 799–800 (D.S.C. 2016), order clarified, No. 2:13-CV-1831-DCN, 2017 WL

3620061 (D.S.C. Aug. 23, 2017). In determining whether good cause exists for a protective order,

courts balance the interest of the moving party in keeping relevant information confidential and

unproduced, versus the opposing party’s interest in obtaining that information. Id. “In other

words, the Court must weigh the need for the information versus the harm in producing it.” Id.

       Good cause exists to grant the protective order here. Mr. Stone is no longer a plaintiff in

this matter. At a minimum, therefore, he is no longer a proper subject for this Court’s June 15,

2018 order permitting “deposition of Plaintiffs.” Dkt. No. 36 at 1. Plaintiffs no longer plan to use

Mr. Stone as a witness in this action. However, Defendants’ deposition questioning in this matter

may well intrude upon issues of fact, impressions, or theories relevant to Mr. Stone’s separate post-

conviction relief proceedings, which go to the very heart of his sentence. Therefore, Mr. Stone’s

interest in avoiding these depositions and maintaining his confidentiality is incredibly high.

       In stark contrast to the incredibly high interest Mr. Stone has in not being deposed,

Defendants have relatively minor interests in pursuing his deposition. By the conclusion of August

24, 2018, Defendants will have successfully completed the remaining seventeen Plaintiffs’

depositions, and will have been afforded an opportunity to obtain ample testimony regarding the
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individualized allegations of Plaintiffs’ Amended Complaint. While Mr. Stone may be held on

South Carolina Department of Corrections’ Death Row, he does not hold any specialized

information pertaining to this case that cannot be, and has not already been, obtained from the

remaining seventeen plaintiff depositions. The oppressive and potentially prejudicial effect of Mr.

Stone’s deposition far outweighs any scheduling concerns held by Defendants.1

       Pursuant to Federal Rule of Civil Procedure 26(c)(1) and Local Civil Rule 7.02, Bobby

Stone, through the undersigned counsel, certifies that he has undertaken a sincere and good faith

effort to confer with Defendants in an effort to resolve this discovery dispute without the Court’s

intervention, with negative results.

       For the foregoing reasons, Bobby Stone respectfully requests this Court grant the motion

to enter a protective order prohibiting Defendants from deposing him in this matter.




1
  Defendants have admitted that the primary reason they want to continue with Mr. Stone’s
deposition is because the parties already worked to arrange the timing of said deposition. Jophlin
Decl., Exhibit 2. But the parties will already need to be at Kirkland for the deposition of Mr.
Winkler on August 24. Surely SCDC cannot mean that alleged past inconvenience justifies further
inconvenience in the future—particularly when they only noticed Mr. Stone’s deposition more
than a week after Plaintiffs’ counsel informed Defendants that Mr. Stone wished to withdraw and
that his deposition should be canceled.
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Dated: August 21, 2018                Respectfully submitted,

                                      s/ Aaron S. Jophlin
                                      Aaron S. Jophlin (Fed. ID 10114)
                                      THE JOPHLIN LAW FIRM
                                      102 King Street
                                      Georgetown, SC 29440
                                      Phone: (843) 970-1820
                                      Fax: (843) 970-1818
                                      aaron@jophlinlaw.com

                                      Pieter Van Tol**
                                      Nicole Schiavo**
                                      Darcy Hansen**
                                      HOGAN LOVELLS US LLP
                                      875 Third Avenue
                                      New York, NY 10022
                                      Phone: (212) 981-3000
                                      Fax: (212) 981-3100
                                      pieter.vantol@hoganlovells.com
                                      nicole.schiavo@hoganlovells.com
                                      darcy.hansen@hoganlovells.com

                                      Brian Richichi**
                                      Emily Goldman**
                                      Kyle Druding**
                                      HOGAN LOVELLS US LLP
                                      555 Thirteenth Street, N.W.
                                      Washington, DC 20004
                                      Phone: (202) 637-5600
                                      Fax: (202) 637-5910
                                      brian.richichi@hoganlovells.com
                                      emily.goldman@hoganlovells.com
                                      kyle.druding@hoganlovells.com
                                      Counsel for Plaintiffs

                                      ** Admitted pro hac vice
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                                CERTIFICATE OF SERVICE

       I, Aaron S. Jophlin, hereby certify that on August 21, 2018, I caused a true and correct

copy of the foregoing Motion for Protective Order Prohibiting Deposition to be filed with the Clerk

of the Court using the CM/ECF system.



                                                     Respectfully submitted,

                                                     s/ Aaron S. Jophlin
                                                     Aaron S. Jophlin

                                                     Counsel for Plaintiffs
